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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-592V
                                     Filed: October 28, 2014

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DAVID DUNCAN,              *
                           *
              Petitioner,  *                                Ruling on Entitlement; Concession;
v.                         *                                Tetanus-Diphtheria-acellular Pertussis;
                           *                                Tdap; Table Injury; Brachial Neuritis;
SECRETARY OF HEALTH        *                                Brachial Plexus
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
                           *
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                                     RULING ON ENTITLEMENT1

Vowell, Chief Special Master:

      On July 11, 2014, David Duncan filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges he suffered pain and
weakness in his shoulder and arm following the administration of the tetanus,
diphtheria, and acellular pertussis [“TDAP”] vaccine on October 26, 2012. Petition at 1,
4. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On October 6, 2014, respondent filed a status report indicating she would
“concede that petitioner meets the statutory requirements for demonstrating an on-
Table case of brachial neuritis” if I determined petitioner received a vaccination on
October 26, 2012. Status Report at 1. After examining the evidence, I found “that
petitioner received a TDAP vaccine in his left shoulder on October 26, 2012” and
ordered respondent to file her Rule 4(c) report by November 7, 2014. Order and Ruling
on Facts, issued Oct. 8, 2014, at 2.
1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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      During a telephonic status conference held on October 22, 2014,3 respondent’s
counsel confirmed that respondent was conceding the case in light of my ruling. He
asked if he was required to file a Rule 4(c) report or if the status report filed on October
6, 2014 and counsel’s verbal confirmation of respondent’s concession on October 22,
2014 was sufficient for me to rule that petitioner was entitled to compensation.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                                       s/Denise K. Vowell
                                       Denise K. Vowell
                                       Chief Special Master




3
 During the call, Isaiah Kalinowski appeared on behalf of petitioner, and Michael Milmoe appeared on
behalf of respondent. Stacy Sims appeared on my behalf as the OSM staff attorney managing the case.
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